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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                               Case No. 4:13CR00090 KGB

TROY DION ALLEN, ET AL.                                                            DEFENDANTS
(Defendants 1-9, 11, and 12)
                                             ORDER

       Pending before the Court is defendant Jose Contreras’s motion for continuance of the trial

of this matter currently set for Monday, December 2, 2013, (Dkt. No. 158). The Court has

determined that due to the number of defendants and attorneys involved in this case the most

efficient manner of which to handle the motion for continuance will be to establish a deadline for

any defendant opposing the motion to file a response in opposition.

       The defendants are currently set for jury trial to begin on Monday, December 2, 2013, with

the exception of defendant Zyphria Watts. As of this date, Ms. Watts has not been arrested on the

Indictment. The Court finds that no severance has been granted in this matter. Since the defendants

are jointly indicted on similar evidence from the same event, their trial date should be conducted on

the same date.

       IT IS THEREFORE ORDERED that any defendant opposing defendant Jose Contreras’s

motion for continuance must file a response in opposition on or before November 5, 2013. It will

not be necessary for any defendant who supports the motion for a continuance to respond.

       The Court will assume that any defendant who does not file a response in opposition of the

motion on or before November 5, 2013, joins in the motion for continuance and waives Speedy

Trial requirements up to and including the next scheduled trial date.
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SO ORDERED this 22nd day of October, 2013.


                                       ____________________________________
                                       Kristine G. Baker
                                       United States District Judge




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